           Case: 1:21-cv-04840 Document #: 64 Filed: 10/03/22 Page 1 of 10 PageID #:308




                                   UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      GENERAL ORDER 22-0018


       Pursuant that to the Executive Committee Order entered on September 9, 2022, the civil cases on the
attached list have been selected for reassignment to form the initial calendar of the Honorable Nancy L.
Maldonado; therefore

      IT IS HEREBY ORDERED that the attached list of 287 cases be reassigned to the Honorable Nancy L.
Maldonado; and

       IT IS FURTHER ORDERED that all parties affected by this Order must review the Honorable Nancy L.
Maldonado’s webpage on the Court’s website for the purpose of reviewing instructions regarding scheduling
and case management procedures; and

        IT IS FURTHER ORDERED that any civil case that has been reassigned pursuant to this Order will not
be randomly reassigned to create the initial calendar of a new district judge for twelve months from the date of
this Order; and

         IT IS FURTHER ORDERED that the Clerk of Court is directed to add the Honorable Nancy L.
Maldonado to the Court’s civil case assignment system during the next business day, so that she shall receive
a full share of such case; and

        IT IS FURTHER ORDERED that the Clerk of Court is directed to add the Honorable Nancy L.
Maldonado to the Court's criminal case assignment system ninety (90) days so that Judge Maldonado shall
thereafter receive a full share of such cases.




                                                    ENTER:

                                     FOR THE EXECUTIVE COMMITTEE




                                      ________________________________
                                      Hon. Rebecca R. Pallmeyer, Chief Judge




       Dated at Chicago, Illinois this 3rd day of October, 2022




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Civil Cases Reassigned from Judge Alonso to Judge Maldonado

1:18-cv-02014        White, Jr. v. Pfister et al
1:20-cv-00067        Grigsby v. La Rabida Children's Hospita. et al
1:21-cv-00085        State of Illinois Ex. Rel Ken Elder v. JPMorgan Chase N.A.
1:21-cv-00874        Butler v. Chicago Transit Authority
1:21-cv-04434        Mejia v. Blue Island Park District
1:21-cv-04850        Gonzalez v. Village Of Hanover Park et al
1:22-cv-00226        Direct Steel, LLC v. American Buildings Company
1:22-cv-00531        Branham v. Trueaccord Corp.
1:22-cv-02212        Rios v. Metro Communication USA LLC
1:22-cv-02358        Bavi v. Army Review Board Agency
1:22-cv-03661        Melgoza v. The Chefs' Warehouse Midwest, LLC et al


Civil Cases Reassigned from Judge Aspen to Judge Maldonado

1:16-cv-06947        Sullivan v. Melvin et al
1:19-cv-04937        Woods v. Lee et al
1:21-cv-04849        Delgado v. Smithfield Packaged Meats Corp.
1:21-cv-06734        Continental Glass Sales & Investment Corp v. First Finish, LLC
1:22-cv-02308        Travelers Property Casualty Company of America v. Benchmark Insurance Company

Civil Cases Reassigned from Judge Blakey to Judge Maldonado

1:18-cv-02447        Perry v. Pfister et al
1:19-cv-01502        Tyner v. Nowakoski et al
1:19-cv-08129        Laurent v. Takeda Pharmaceuticals America Inc. et al
1:20-cv-03366        Calvente v. Ghanem et al
1:21-cv-00426        Ballantine et al v. Village of Mokena
       1:22-cv-00818         Ballantine et al v. Village of Mokena
1:21-cv-02014        Evangelical Students Fellowship v. American Family Mutual Insurance Company, S.I.
1:21-cv-04076        Robertson v. United Parcel Service
1:21-cv-06517        Berman v. The County of Lake
1:22-cv-01731        Parker v. TransUnion LLC et al
1:22-cv-02631        Washington v. Portfolio Recovery Associates et al
1:22-cv-03833        Long Distance Moving Experts et al v. United Express Group, Inc. et al

Civil Cases Reassigned from Judge Bucklo to Judge Maldonado

1:18-cv-00076       3Cloud, LLC v. Concurrency, Inc. et al
1:18-cv-01733       Tyson v. Cook County Jail et al
1:19-cv-07868       Pable v. Chicago Transit Authority et al
1:20-cv-05562       Manning, Individually et al v. Haines et al
1:20-cv-06034       Maxum Indemnity Company v. Powertrain Rockford Inc. et al
1:21-cv-02821       Central States, Southeast and Southwest Areas Pension Fund et al v. Allied Aviation
                    Fueling Company of St. Louis, LLC
1:22-cv-01030       Walsh v. Fensler et al
1:22-cv-02317       Fashion Forward Worldwide Corp. v. Stein
1:22-cv-02218       Jilton v. Dart et al
1:22-cv-03812       Wyatt v. People of Illinois State et al
1:22-cv-03868       Tamez v. Sergeant Construction, Inc.



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Civil Cases Reassigned from Judge Chang to Judge Maldonado

1:17-cv-03078        Shure Incorporated v. ClearOne, Inc.
       1:19-cv-02421         ClearOne, Inc. v. Shure Incorporated
1:18-cv-01301        Shuhaiber v. Dart et al
       1:18-cv-01305         Shuhaiber v. Illinois Department of Corrections et al
       1:18-cv-01306         Shuhaiber v. Dart et al
       1:18-cv-01370         Shuhaiber v. Dr. Sood
       1:18-cv-01371         Shuhaiber v. Cook County Jail et al
       1:18-cv-03290         Shuhaiber v. Shulda et al
1:19-cv-07606        Marsh et al v. CSL Plasma Inc.
1:19-cv-08437        Gomez v. Rihani et al
1:21-cv-00351        Ojimba et al v. Moore, NP et al
1:21-cv-00575        U.S. Specialty Insurance Company v. LaSalle County, Illinois et al
1:21-cv-04672        Sherif Albert DDS, P.C., d/b/a Esplanade Dental Care et al v. The Cincinnati Insurance
                     Companies et al
1:21-cv-05036        Woods v. Kijakazi
1:22-cv-00627        Walker v. Dept. of Human Services et al
1:22-cv-02380        Alvarez et al v. Hartsfield
1:22-cv-03586        Allen-Sanders v. Mount Sinai Hospital Medical Center


Civil Cases Reassigned from Judge Coleman to Judge Maldonado

1:13-cv-09339        Feit Electric Company, Inc. v. CFL Technologies LLC
1:18-cv-01264        DeVine v. XPO Logistics Freight, Inc.
1:20-cv-01191        Thompson v. Wexford Health Sources Inc. et al
1:20-cv-03014        Wagner v. SPEEDWAY, LLC.
1:21-cv-00727        Thomas Jr v. Dart et al
1:21-cv-01922        Thornley v. Garcia et al
1:21-cv-06142        Garcia et al v. Three Buddy's Inc. et al
1:21-cv-06861        Burton v. Dart et al
1:22-cv-01828        Farias v. J&K Express, Inc. et al
1:22-cv-02248        Tisden et al v. U.S. Citizenship and Immigration Services (USCIS) et al
1:22-cv-03486        Fedorova v. Bank of America, N. A. et al


Civil Cases Reassigned from Judge Dow to Judge Maldonado

1:15-cv-06869        Coe v. Atkins, et al.
1:17-cv-07095        Dukes et al v. Tapia-Jones et al
1:18-cv-02678        Gonzalez v. Dorethy
1:20-cv-01355        Line Construction Benefit Fund et al v. WPS, Inc.
1:20-cv-02433        Stephens v. Collins et al
1:20-cv-03375        Inventus Power, Inc. et al v. Shenzhen Ace Battery Co., Ltd.
1:20-cv-07714        Testroet v. International Code Council, Inc.
1:21-cv-03815        Walsh v. Woodbridge Nursing Pavilion, Ltd
1:21-cv-06177        Vidal-Martinez v. US Department of Homeland Security et al
1:22-cv-01235        Dixon et al v. Leiserv, LLC d/b/a Bowlero River Grove
1:22-cv-02658        Bonchon U.S.A., Inc. v. Aaron Allen & Associates, LLC




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Civil Cases Reassigned from Judge Durkin to Judge Maldonado

1:19-cv-00129        Henderson v. City Of Chicago et al
1:19-cv-05287        Consolidated Chassis Management LLC et al v. Northland Insurance Company
1:20-cv-01745        Silberman v. Scalia.
1:20-cv-06289        Goudy et al v. Underwriters At Lloyd's, London et al
1:21-cv-02199        Heimgartner v. G-III Leather Fashions, Inc. et al
1:21-cv-03134        Banner Life Insurance Company v. Kutrubis et al
1:21-cv-04827        Khan v. HCL America Inc.
1:21-cv-06511        Hurt v. ScriptPro LLC
1:22-cv-02100        Reed v. Raoul et al
1:22-cv-03133        McCoy v. National Railroad Passenger Corporation et al
1:22-cv-04147        Laura Graves v. The Partnerships and Unincorporated Associations Identified on
                     Schedule A


Civil Cases Reassigned from Judge Ellis to Judge Maldonado

1:17-cv-07216        Medline Industries, Inc. v. C.R. Bard, Inc.
1:19-cv-07888        Freeland v. Lorenzini & Associates, Ltd. et al
1:20-cv-01023        PLB Investments LLC et al v. Heartland Bank & Trust, Company et al
       1:20-cv-07819        Damian v. Heartland Bank and Trust Company et al
1:20-cv-06157        Lazaro v. BNSF Railway Company et al
1:20-cv-07318        McCue v. Johnson et al
1:21-cv-03065        Thompson v. Santerelli
1:21-cv-05756        Turow v. Glazier
1:22-cv-01042        Wells v Chicago Park District
1:22-cv-02384        Toms et al v. Vandecarr, et al.
1:22-cv-03243        Her Imports v. Cabello Real Ltd et al
1:22-cv-04338        Blue Sphere, Inc., d/b/a Lucky 13 and Robert A. Kloetzy v. The Individuals,
                     Corporations, Limited Liability Companies, Partnerships, and Unincorporated
                     Associations Identified on Schedule A Hereto


Civil Cases Reassigned from Judge Feinerman to Judge Maldonado

1:18-cv-03492        Richter v. Orenstein et al
1:19-cv-04597        Sachell v. Dart et al
1:20-cv-04791        Nunzino Pizza et al v. Hop Head Farms LLC et al
1:21-cv-00319        Fair v. Pfister et al
1:21-cv-03166        LKQ Corporation et al v. Kia Motors America, Inc. et al
1:21-cv-04529        Jackson v. Discover Financial Services Inc.
1:21-cv-06555        Sauer v. Herminstyne et al
1:22-cv-00178        Gaskew v. Kijakazi
1:22-cv-01459        BlueCrest Capital International Master Fund Limited v. Travel Holdings, Inc. et al
1:22-cv-02805        Washington v. L J Ross Associates, Inc. et al
1:22-cv-03753        Central States Southeast & Southwest Areas Pension Fund et al v. Doe




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Civil Cases Reassigned from Judge Gettleman to Judge Maldonado

1:16-cv-06418        Daddono v. United States of America et al
1:17-cv-07241        Carter v. City Of Chicago et al
1:20-cv-04741        Kaur v. Lakuzi Foods., Inc. et al
1:20-cv-06830        Legat v. Legat Architects Inc.
1:21-cv-06390        First American Title Insurance Company v. Hanson Aggregates Midwest
1:22-cv-00325        Rudy et al v. SSC Westchester Operation Company LLC
1:22-cv-02894        Reliford v. Monti et al
1:22-cv-02975        Shanmugavelandy v. AbbVie, Inc


Civil Cases Reassigned from Judge Gottschall to Judge Maldonado

1:15-cv-10610        Palladino v. Wells Fargo Bank, N. A. et al
1:20-cv-02523        Sha-Poppin Gourmet Popcorn LLC v. JPMorgan Chase Bank, N.A et al
       1:20-cv-04428         Ajir AI LLC v. JPMorgan Chase Bank, N.A.
1:21-cv-06239        Collier v. Illinois Department of Human Services
1:22-cv-01266        LaChance v. Community Consolidated School District 93, et al


Civil Cases Reassigned from Judge Guzman to Judge Maldonado

1:18-cv-04871        Dietrich v. C. H. Robinson Worldwide, Inc.
1:19-cv-06836        Benson et al v. Newell Brands Inc., et al.,
1:20-cv-02128        Shivaraju v. Advocate Health Care
1:22-cv-00831        Carlson v. Transform SR Home Improvement Products LLC
1:22-cv-01768        Parker v. Experian Information Solutions, Inc. et al


Civil Cases Reassigned from Judge Kendall to Judge Maldonado

1:18-cv-06244        McVay v. Obaisi et al
1:20-cv-01597        Billups-Dryer v. Sheehan et al
1:20-cv-04015        Allied Insurance Company et al v. The United States Post Office
1:21-cv-01534        Quality Custom Distribution v. International Brotherhood of Teamsters, Local 710
       1:21-cv-02521         Local 710, International Brotherhood of Teamsters v. Quality Custom Distribution
1:21-cv-03940        Villalpando v. A-1 Outdoor Maintenance, Inc., et al
       1:21-cv-06601         Hernandez v. A-1 Outdoor Maintenance, Inc. et al
       1:22-cv-00930         Ramirez v. Dady et al
1:21-cv-06112        Cornice & Rose International, LLC v. Acuity, A Mutual Insurance Company
1:22-cv-00965        Hunt v. Brown, et al
1:22-cv-02899        Hosty v. Sunrise Flossmoor Assisted Living, LLC
1:22-cv-03159        Hines v. United Airlines, Inc.
1:22-cv-03652        Emoji Company GmbH v. The Individuals, Corporations, Limited Liability Companies,
                     Partnerships, and Unincorporated Associations Identified on Schedule A Hereto
1:22-cv-04191        Bigfoot 4X4, Inc. v. The Individuals, Corporations, Limited Liability Companies,
                     Partnerships, and Unincorporated Associations Identified on Schedule A Hereto




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Civil Cases Reassigned from Judge Kennelly to Judge Maldonado

1:19-cv-04652        Santiago v. City Of Chicago
1:19-cv-08507        Joliet Avionics v. Lumanair, Inc. et al
1:20-cv-05337        City of Aurora v.BS Iron, Inc., et al.,
1:21-cv-01366        Hernandez v. The Professionals, Inc. et al
1:21-cv-03607        Gonzalez-Loza v. United States
1:21-cv-05624        Nanlawala v. CITY OF CHICAGO
1:21-cv-06879        Garrett v. Walmart Inc
1:22-cv-01178        Palacios v. Discount Green Dry Cleaners INC. et al
1:22-cv-01834        Chicago & Vicinity Laborers' District Council Pension Fund et al v. ICC Commonwealth
                     Corporation f/k/a International Chimney Corp.
1:22-cv-03236        Feuling v. United States of America
1:22-cv-04126        Havrilla et al v. Centene Corporation et al


Civil Cases Reassigned from Judge Kness to Judge Maldonado

1:17-cv-02120        Walgreen Co. v. Panasonic Healthcare Corporation of North America
1:18-cv-06288        Davis v. Wexford Health Source, Inc et al
1:19-cv-01374        Howe v. Speedway LLC et al
1:19-cv-06646        Saulsberry v. Baldwin et al
1:19-cv-08348        Bordelais v. Kuhn et al
1:20-cv-03993        Sims et al v. United States Of America(FTCA)
1:20-cv-05500        Hyper Microsystems Incorporated v. Legacy Micro, Inc.
1:21-cv-01392        Cardona v. Bean et al
1:21-cv-02595        American Male & Company v. Auto-Owners Insurance Company
1:21-cv-04329        Barton v. Walmart Inc.
1:21-cv-05285        Administrative District Council 1 Pension Fund v. LCS Construction Co. et al
1:22-cv-00568        Martinez v. Wills
1:22-cv-03645        Irfan v. Carpentersville Police Department
1:22-cv-03297        Woeso v. Experian Information Solutions, Inc. et al
1:22-cv-04211        Driver v. LQ Management LLC


Civil Cases Reassigned from Judge Kocoras to Judge Maldonado

1:17-cv-04699        Hill v. City of Harvey et al
1:18-cv-06064        Boyd v. Loper et al
1:20-cv-00577        Vance v. International Business Machines Corporation
       1:20-cv-00783          Janecyk v. International Business Machines Corporation
1:20-cv-01668        Woods v. City of Markham
1:20-cv-07358        Busse v. ABM Industry Groups, LLC et al
1:21-cv-00577        McKay v. City Of Chicago et al
1:21-cv-04902        Central States, Southeast and Southwest Areas Pension Fund et al v. Paramount
                     Convention Services, Inc.
1:21-cv-05543        Lorenzo v. State of Illinois Department of Human Services et al
1:22-cv-00014        RSUI Indemnity Company v. Fireside Terrace Condominium Association, Inc. et al
1:22-cv-00757        Bobby Curry v Pedro Guzman, et al




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Civil Cases Reassigned from Judge Lefkow to Judge Maldonado

1:20-cv-05931        Krishnan v. DeJoy
1:20-cv-07268        Romano v. First Midwest Bancorp, Inc. et al
1:21-cv-04081        CCP GOLDEN/7470 LLC et al v. BRESLIN et al
1:21-cv-06362        Malik v. Addison Group
1:22-cv-02690        McCoy v. MAYORKAS


Civil Cases Reassigned from Judge Leinenweber to Judge Maldonado

1:17-cv-07991        Doe v. Board of Trustees of Northern Illinois University
1:19-cv-08225        Nestle Healthcare Nutrition, Inc v. Xcel Med, LLC
1:21-cv-02198        Braxton v. Menard Inc.
1:22-cv-00212        Lottie v. Walmart Inc.
1:22-cv-03170        Hallmark Licensing, LLC v. The Partnerships and Unincorporated Associations Identified
                     on Schedule A

Civil Cases Reassigned from Judge Norgle to Judge Maldonado

1:16-cv-05486        Viamedia, Inc. v. Comcast Corporation et al
1:19-cv-01732        Laborers' Pension Fund et al v. JLL Construction Services, Inc. et al
1:20-cv-00803        Kelly et al v. Tally et al
1:20-cv-04882        Richardson v. Blessing et al
       1:22-cv-00636         Blessing v. Richardson et al
1:20-cv-06756        Smith v. Pfister et al
1:21-cv-03464        Camacho v. Sabaini et al
1:21-cv-04764        Torres Rivera v. Daria Exports Inc. et al
1:21-cv-06935        McGarrity v. Altus Business Development, Inc.
1:22-cv-01969        Guity v. Mangia Mangia Inc. et al
1:22-cv-03105        Mid-America Carpenters Regional Council Pension Fund v. Fuscaldo
1:22-cv-04234        Keeling v. Collection Professionals, Inc. et al

Civil Cases Reassigned from Judge Pacold to Judge Maldonado

1:15-cv-11746        Miller v. Lake County Jail et al
1:16-cv-01086        Gavin/Solmonese LLC v. Kunkel
1:18-cv-02679        Mays v. Pfister et al
1:18-cv-03733        Brinson v. Eagle Express Lines, Inc.,
1:19-cv-01761        Taylor v. Lawrence
1:19-cv-02564        Montano v. Obaisi
       1:21-cv-06867         Montano v. Wexford Health Sources, Inc. et al
1:20-cv-00764        Advanta-STAR Automotive Research Corporation of America v. Joe Cotton Ford, Inc. et
                     al
1:20-cv-02118        Miller v. Kijakazi
1:20-cv-06042        Williams v. Thomas et al
1:21-cv-00549        Gordon v. Board of Education for the City of Chicago “(CPS”) et al
1:21-cv-04682        Caraba, D.D.S. v. Paul Revere Life Insurance Company
1:21-cv-04976        G.T. v. Samsung Electronics America, Inc.
1:22-cv-01322        Willoughby et al v. Abbott Laboratories
       1:22-cv-01376         Doxie et al v. Abbott Laboratories
1:22-cv-02904        Rudolph-Kimble v. Motel 6
1:22-cv-03781        S-R Investments LLC et al v. Federal Insurance Company et al


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Civil Cases Reassigned from Judge Pallmeyer to Judge Maldonado

1:14-cv-10408        Cutler v. Wasson et al
1:17-cv-02153        Alarm Detection Systems, Inc. et al v. Village of Schaumburg et al
1:20-cv-03653        Haney v. Pritzker et al.
1:21-cv-03247        Woodson v. Village of Steger, Illinois, The
1:21-cv-06855        Wilim v. Mondelez Global LLC


Civil Cases Reassigned from Judge Rowland to Judge Maldonado

1:18-cv-00316        Phillips v. City Of Chicago et al
1:19-cv-01844        Kleronomos v. AIM Transfer & Storage, Inc. et al
1:19-cv-07280        McNease et al v. Laldee et al
1:20-cv-04245        Jackson v. The City of Chicago et al
1:20-cv-06485        Redd v. Amazon.com, Inc. et al
1:21-cv-02188        Smith v. Dart et al
1:21-cv-03672        Dukes v. Washburn et al
1:21-cv-05787        Weston v. University of Kentucky Federal Credit Union
       1:22-cv-02724         Weston v. U.S. Small Business Administration
1:21-cv-06563        Cascades Branding Innovation LLC v. Aldi, Inc
1:22-cv-01617        Heller v. Curaleaf Holdings, Inc.
1:22-cv-01761        Floyd v. Squires et al
1:22-cv-03026        Lowe v. City Of Chicago et al
1:22-cv-03232        James v. Cermak HHS et al
1:22-cv-04141        Coyote Logistics, LLC v. Falcon Motor Xpress, LTD.
1:22-cv-04277        Coss et al v. Walmart, Inc.


Civil Cases Reassigned from Judge Seeger to Judge Maldonado

1:17-cv-02877        White v. City Of Chicago et al
1:18-cv-06576        Pittsfield Development LLC et al v. The Travelers Indemnity Company
1:19-cv-04639        Nelson v. Generations at Applewood, LLC et al
1:19-cv-00176        Hytera Communications Corporations LTD. et al v. Motorola Solutions Inc.
1:21-cv-01016        Pullen v. Lopez et al
1:21-cv-00226        Pollo v. Takeda Pharmaceuticals America, Inc. et al
1:21-cv-03621        Jones v. Wilks et al
1:21-cv-04253        Cline v. Fitzmark Chicago, Inc. et al
1:22-cv-00059        Mighty Pac, Inc. v. BT Supplies West, Inc.
1:22-cv-00617        Bueno v. Experian Information Solutions, Inc.
1:22-cv-01512        Deckers Outdoor Corporation v. The Partnerships and Unincorporated Associations
                     Identified on Schedule “A”
1:22-cv-01575        Advanced Physical Medicine of Yorkville, Ltd. v. Cigna Healthcare of Illinois, Inc.
1:22-cv-02643        Young v. City of Chicago et al
1:22-cv-02785        Bowman et al v. Chicago Housing Authority
1:22-cv-03509        Reflection Window & Wall, LLC v. Talon Wall Holdings, LLC et al




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Civil Cases Reassigned from Judge Shah to Judge Maldonado

1:18-cv-07330         United States of America v. Oehler et al
1:20-cv-01940         Kohl v. Davis et al
1:21-cv-01668         Noe et al v. Smart Mortgage Centers, Inc. et al
1:21-cv-03320         Irizarry v. M&R Precision Machining Inc.
1:22-cv-00376         Cross v. Skinner et al
1:22-cv-01559         Spiegel v. Wintrust Bank, N.A.
1:22-cv-01648         Tiz, Inc. v. Southern Glazer's Wine and Spirits, LLC et al
1:22-cv-01986         Baldwin v. The City of Chicago et al
1:22-cv-03239         Nextpulse, LLC v. Life Fitness, LLC
1:22-cv-03381         Martinez Martinez v. Ravinia Maid Service, Inc. et al
1:22-cv-04075         Foremost Insurance Company v. Ratts et al


Civil Cases Reassigned from Judge Tharp to Judge Maldonado

1:18-cv-05122         Sanders v. City Of Chicago et al
1:18-cv-00264         Mims v. The Boeing Company
1:19-cv-02394         Seeks v. The Boeing Company
1:19-cv-03718         Marshall v. Grubhub Inc.
1:20-cv-01010         United States of America v. Wilson et al
1:20-cv-02133         Fidelity Brokerage Services, LLC. v. Taylor
1:20-cv-06965         Avery v. CVI SGP-CO Acquisition Trust et al
1:21-cv-04556         Poulos et al v. Cinemark USA Inc. et al
1:22-cv-01682         Wronski et al v. Blinken et al
1:22-cv-02909         Havens et al v. Instant Brands, Inc.
1:22-cv-03795         Torres v. Wal-Mart Stores Inc.


Civil Cases Reassigned from Judge Valderrama to Judge Maldonado

1:17-cv-01796        Montoya v. Mitchell et al
1:17-cv-05291        Lietzow v. Village of Huntley et al
1:19-cv-01203        Collins Engineers, Inc. v. Travelers Property Casualty Company of America
1:19-cv-02321        Richardson v. Kharbouch
1:19-cv-08112        Arkeyo LLC v. Saggezza, Inc.
1:20-cv-00522        Koerner v. Santander Bank, N.A. et al
1:20-cv-04864        Marhaba Wholesale LLC v. Ohio Security Insurance Company
1:20-cv-06329        Sroga v. The Cook County Land Bank Authority et al
1:21-cv-03142        Marquez, Plenary Co-Guardian of Chloe Marquez, a disabled person et al v. Palos
                     Community Hospital, Inc. d/b/a Palos Hospital
1:21-cv-03334        Scott v. Director of IDOC, Rob Jeffreys et al
1:21-cv-06167        Britt v. Ingalls Memorial Hospital
1:21-cv-06281        Brotherhood of Locomotive Engineers and Trainmen v. National Railroad Passenger
                     Corporation d/b/a Amtrak
       1:21-cv-06282           International Association of Sheet Metal, Air, Rail and Transportation Workers -
                               Transportation Division et al v. National Railroad Passsenger Corp.
1:22-cv-01286        Barnes v. Walmart
1:22-cv-02299        Roberson et al v. Management Corporation et al
1:22-cv-03610        Raspanti v. Jones Day et al




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Civil Cases Reassigned from Judge Wood to Judge Maldonado

1:15-cv-09323     Breuder v. Board of Trustees of Community College District No. 502, DuPage County,
                  Illinois et al
1:17-cv-02328     Gruenstein v. Browning
1:19-cv-01468     Kibbons v. Taft School District 90 et al
1:19-cv-06439     Diamond Residential Mortgage Corporation v. Liberty Surplus Insurance Corporation
1:20-cv-02262     Laborers' Pension Fund et al v. Proven Contractors, Inc.
1:20-cv-04893     Brown v. Montgomery et al
1:21-cv-01360     The Hanover Insurance Company v. The Dolins Group, Limited et al
1:21-cv-04840     Ball v. City of Chicago et al
1:22-cv-00768     Hernandez v. AutoZone, Inc.
1:22-cv-02665     Delgado v. Lebanese Meat Market et al
1:22-cv-03691     LKQ Corporation et al v. Shipman




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